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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 United States of America,
                      Plaintiff,


                      vs.                            Case No. 07-10143-03-JTM


 Clinton A.D. Knight,
                      Defendant.




                             MEMORANDUM AND ORDER



       Defendant Clinton Knight was convicted of various racketeering and drug-related

offenses and sentenced to 151 months imprisonment. This matter is before the court on

Knight’s Motion to Correct a Clerical Error. (Dkt. 694). Knight argues that his criminal

history was incorrectly calculated as level III, when it should have been level II.

       Independent of Knight’s motion, the court has reviewed the sentence for potential

modification pursuant to United States Sentencing Guidelines Amendment 782, which

became law on November 1, 2014. By separate Order (Dkt. 695), the court has adjusted the

sentence from 151 months to 121 months. The sentence cannot be reduced further than 121

months, the low end of amended guideline range, pursuant to U.S.S.G. 1B1.10(b)(2)(A).

       The defendant’s motion to correct clerical error is denied. Under FED.R.CRIM.PR. 36,
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the court may at any time correct “[c]lerical mistakes in judgments, orders or other part of

the record and errors in the record arising from oversight or omission.” The Rule “is

narrow, applying only to uncontroversial and non-substantive clerical errors ‘of the sort

that a clerk or amanuensis might commit, mechanical in nature.’” United States v. Kieffer,

   Fed.Appx.      , 2014 WL 7238565, *6 (10th Cir. Dec. 22, 2014) (quoting United States v.

Penson, 526 F.3d 331, 335 (6th Cir.2008) (quoting United States v. Robinson, 368 F.3d 653, 656

(6th Cir.2004))). Thus, Rule 36 “does not give the court authority to substantially modify

a sentence.” See United States v. Valdovinos, 576 Fed.Appx. 817, 819 (10th Cir. 2014) (quoting

United States v. Lonjose, 663 F.3d 1292, 1299 n. 7 (10th Cir.2011)).

       The record as reflected in the Presentence Investigation Report and the Statement

of Reasons (Dkts. 500, 536) shows that the defendant’s criminal history category was

correctly calculated, and adopted by the court, as Category III prior to a departure to

Category II. In sum, “there was no error, let alone a clerical error.” Valdovinos, 576

Fed.Appx. at 819.

       IT IS ACCORDINGLY ORDERED this 6TH day of March, 2015, that the defendant’s

Motion to Correct (Dkt. 694) is hereby denied.

                                                   s/ J. Thomas Marten

                                                   J. THOMAS MARTEN, JUDGE




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